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                        .IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



                                                          Complaint for a Civil Case

                                                          Case No.      19·- 365
(Write the full name of each plaintiff who is filing
                                                          (to be filled in by the Clerk's Office)
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write "see                                     J2l' No
                                                          Jury Trial:     D Yes
attached" in the space and attach an additional
                                                                          (check one)
page with the full list of names.)


    -against-

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/11 n!J ~ EJ.f;<.ard· Kbudai"'Cito-JJA~
i e&\I\ axJ Bel C:!ean Co ky,., ~tf>~~~
(Write the full name of each defendant who is/J!fv.
being sued If the names of all the defendant/D         0° .
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list of names.)
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 I.   The Parties to This Complaint

      A.    The Plaintiff(s)

            Provide the information below for each plaintiff named in the complaint. Attach
            additional pages if needed.

                   Name
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address

       B.   The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed:

            Defendant No. 1
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number          713 - 22~ /23t/
                   E-mail Address
                   (if known)

            Defendant No. 2
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County



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                       State and Zip Code
                       Telephone Number               6 - -6 II/- 99V-
                       E-mail Address
                       (if known)

               Defendant No. 3
                       Name
                       Job or Title
                       (if known)
                       Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
                       E-mail Address
                       (if known)

                Defendant No. 4
                       Name
                       Job or Title
                       (if known)
                       Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
                       E-mail Address
                       (if known)

. II.   Basis for Jurisdiction

        Federal courts are courts of limited jurisdiction (limited power). Generally, only two.
        types of cases can be heard in federal court: cases involving a federal question and cases
        involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
        under the United States Constitution or federal laws or treaties is a federal question case.
        Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
        State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
        case. In a diversity of citizenship case, no defendant may be a citizen of the same State
        as any plaintiff.


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       What is the basis for federal court jurisdiction? (check all that apply)

            43· Federal question                            [2(. Diversity of citizenship

       Fill out the paragraphs in this section that apply to this case.

       A.      If the Basis for Jurisdiction Is a Federal Question

               List the specific federal statutes, federal treaties, and/or provisions of the United
               States Constitution that are at issue in this case.




       B.      If the Basis for Jurisdiction Is Diversity of Citizenship

               1.      The Plaintiff(s)

                       a.      If the plaintiff is an individual

                               The plaintiff, (name)..jj{'J;i,tj
                               the State of (name) ~        Je- ·
                                                              n
                                                                          jell       , is a citizen of



                       b.      If the plaintiff is a corporation

                               The plaintiff, (name)                                , is incorporated
                               under the laws of the State of (name) _ _ _ _ _ _ _ _ __
                               and has its principal place of business in the State of (name)



                       (If more than one plaintiff is named in the complaint, attach an additional
                       page providing the same information for each additional plaintiff.)

               2.      The Defendant(s)

                       a.      If the defendant is an individual

                               The defendant, (name)    1&0es
                                                            fi,           /?:xzf)er ,is a citizen of
                               the State of (name) l i bLQ5                        . Or is a citizen of
                               (foreign nation) _ _ _ _ _ _ _ _ __




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                       b.     If the defendant is a corporation

                              The defendant, (name)                              , is
                              incorporated under the laws of the State of (name)
                              _ _ _ _ _ _ _ _ _ _ , and has its principal place of
                              business in the State of (name)                                  Or is
                              incorporated under the laws of (foreign nation)
                              _ _ _ _ _ _ _ _ _ _ , and has its principal place of
                              business in (name) _ _ _ _ _ _ _ _ __

                       (If more than one defendant is named in the complaint, attach an
                       additional page providing the same information for each additional
                       defendant.)

               3.      The Amount in Controversy

                       The amount in controversy-the amount the plaintiff claims the defendant
                       owes or the amount at stake-is more than $75,000, not counting interest
                                                $/.5   //;o
                       and costs of court, because (explain):        -f"ri       YJ

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                       a6s ( ', -' ·,           a6 e ,               '               :>



 ill.

        Write a short and plain statement of the claim.. Do not make legal arguments. State as
        briefly as possible the facts showing that each plaintiff is entitled to the damages or other
        relief sought. State how each defendant was involved and what each defendant did that
        caused the piaintiffharm. or violated the plaintiff's rights, including the dates and places
        of that involvement or conduct. If more than one claim. is asserted, number each claim.
        and write a short and plain statement of each claim in a separate paragraph. Attach
        additional pages if needed.




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 IV.   Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to
       order. Do not make legal arguments. Include any basis for claiming that the wrongs
       alleged are continuing at the present time. Include the amounts of any actual damages
       claimed for the acts alleged and the basis for these amounts. Include any punitive 9r
       exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
       actual or punitive money damages.

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 V.    Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
       knowledge, information, and belief that this complaint: (1) is not being presented for an
       improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
       cost oflitigation; (2) is supported by existing law or by a non.frivolous argument for
       extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support
       after a reasonable opportunity for further investigation or discovery; and ( 4) the
       complaint otherwise complies with the requirements of Rule 11.

       A.       For Parties Without an Attorney

                I agree to provide the Clerk's Office with any changes to my address where case-·
                related papers may be served. I understand that my failure to keep a current
                address on file with the Clerk's Office may result in the dismissal of my case.

                Date of signing:~'            20Ji.


                ~:::.::~~:utiff ~fd=t::t
       B.       For Attorneys

                Date of signing: _ _ _ _ , 20_.



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             Signature of Attorney
            Printed Name of Attorney
             Bar Number
            Name of Law Firm
             Address
             Telephone Number
             E-mail Address




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                                     CONTINUATION PAGES
     The Defendant(s) - Continuation

           Provide the information below for each defendant named in the complaint,
           whether the defendant is an individual, a government agency, an organization, or
           a corporation. For an individual defendant, include the person's job or title (if
           known). Attach additional pages if needed.

           Defendant No. 5
                  Name
                  Job or Title               Non- •hroifer
                  (if known)
                   Street Address
                  ·city and County
                   State and Zip Code
                   Telephone Number
                  E-mail Address
                  (if known)

            Defendant No. 6
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County              !Jshkosh .
                                                y//sC-OY?SiY} 5~91J/
            Defendant No. 7
                                                 9 ~ 0 --tj J. 6~ ,;l;i,'2.-:2.
                   Name
                   Job or Title
                                                   ::fe4YJ       (!/)j: {V/Jisa n)'?




                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (if known)


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             Defendant No. 8
                     Name
                     Job or Title
                     (if known)
                    .Street Address
                     City and County
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Statement of Claim - Continuation

      Write a short and plain statement of the claim. Do not make legal arguments. State as
      briefly as possible the facts showing that each plaintiff is entitled to the damages or other
      relief sought. State how each defendant was involved and what each defendant did that
      caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
      of that involvement or conduct. If more than one claim is asserted, number each claim
      and write a short and plain statement of each claim in a separate paragraph. Attach
      additional pages if needed.




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                                        CONTINUATION PAGES
      The Defendant(s) - Continuation

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. 5
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (if known)

            Defendant No. 6
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County


             Defendant No. 7
                   Name
                   Job or Title
                   (if known)
                   Street Address
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (if known)


                                             8
